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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

  TYLER KLINGENSMITH                                                                      PLAINTIFF

  VS.                                        NO.    19-5185

  DEPUTY ADRIAN CRUZ,
  ROBIN HOLT, JOSEPH ALLEN,
  MEGAN RUTLEDGE, NICHOLAS
  GUERRERO, RANDALL McELROY,
  SGT. JOE ADAMS, ANTHONY COBB,
  SGT. BRADY, SGT. COGDILL, BENTON COUNTY,
  et al.                                                                               DEFENDANTS

                                BENTON COUNTY DEFENDANTS’
                                   MOTION FOR SANCTIONS

         Comes now the Benton County Defendants and the undersigned counsel, and for their

  Motion for Sanctions, do state the following:

         1.      On September 13, 2021, the undersigned received from Plaintiff correspondence

  containing harassing and outrageous communications, Exhibit No. A (filed under seal).

         2.      The communication constitutes criminal conduct under Arkansas law, Ark. Code.

  Ann. §5-71-209 Harassing Communications, in that it was a written communication by mail, sent

  with the purpose to harass, annoy, or alarm another person, namely the undersigned. Harassing

  Communications is a Class A Misdemeanor.

         3.      Plaintiff has bombarded the Court and the parties with irrelevant and vexatious

  “pleadings” throughout this matter, leading the Court to strike certain pleadings and refuse to file

  others. However, his latest tactic rises to a different level of disregard for the judicial process and

  human dignity.

         4.      For this conduct, Defendants respectfully request that the Court issue an order

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  issuing sanctions against Plaintiff, up to and including monetary sanctions, deemed admission of

  Defendants’ Statement of Indisputable Material Facts, and/or dismissal of his claim herein.

          5.    Should the matter proceed, Defendants respectfully request an order requiring all

  correspondence from Plaintiff be directed through the Court and that Plaintiff attempt no further

  contact with the undersigned by any means and for any purpose.

          WHEREFORE, the Defendants respectfully request that sanctions be imposed upon the

  Plaintiff, for an order of no contact, and for any other just and proper relief to which they are

  entitled.

                                              Respectfully submitted,

                                              DEPUTY ADRIAN CRUZ, DEPUTY JOSEPH
                                              ALLEN, MEGAN RUTLEDGE, NICHOLAS
                                              GUERRERO, SGT. JOE ADAMS, DEPUTY
                                              AUSTON COBB, SGT. TREY BRADY,
                                              SGT. KENNETH COGDILL, AND SHERIFF
                                              HOLLOWAY, et al., Defendants

                                              JaNan Arnold Thomas
                                              Bar No. 97043
                                              Attorney for Defendants
                                              ASSOCIATION OF ARKANSAS COUNTIES
                                              RISK MANAGEMENT SERVICES
                                              1415 W. Third
                                              Little Rock, Arkansas 72201
                                              Telephone (501) 372-7550
                                              email: jthomas@arcounties.org




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on September 15, 2021, I presented the foregoing to the Clerk of the
  Court for filing and uploading to the CM/ECF system, and I mailed the document by United States
  Postal Service to the following non-CM/ECF participant:

  Mr. Tyler Klingensmith
  ADC #170977
  North Central Unit
  10 Prison Circle
  Calico Rock, AR 72519

         I hereby certify that on September 15, 2021, I presented the foregoing to the Clerk of the
  Court for filing and uploading to the CM/ECF system which shall send notice to the following
  CM/ECF participant:

  Sara Monaghan (for Defendant Detective Jordan)
  P.O. Box 38
  N. Little Rock, AR 72115
  smonaghan@arml.org

                                                        JaNan Arnold Thomas
                                                  JaNan Arnold Thomas, #97043
                                                  Attorney for Defendants




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